
17 N.Y.2d 641 (1966)
In the Matter of Charles Fenster, Appellant,
v.
Criminal Court of the City of New York, Respondent.
Court of Appeals of the State of New York.
Argued February 15, 1966.
Decided March 24, 1966.
Emanuel Redfield for appellant.
Louis J. Lefkowitz, Attorney-General (Joel Lewittes, Samuel A. Hirshowitz and Iris A. Steel of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges FULD, VAN VOORHIS, BURKE, SCILEPPI, BERGAN and KEATING.
Order affirmed, without costs. Denial of prohibition was within the discretion of the court below. We reach no other question. No opinion.
